Case 1:22-cv-01237-RGA Document 12 Filed 10/06/22 Page 1 of 5 PageID #: 1149


                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )    Chapter 11
                                                       )
BOY SCOUTS OF AMERICA, et al.,1                        )    Bankruptcy Case No. 20-10343 (LSS)
                                                       )
                         Debtors.                      )    Jointly Administered
                                                       )
                                                       )
                                                       )
National Union Fire Insurance Co. of                   )
Pittsburgh, PA, et al.,                                )
                                                       )
                   Appellants,                         )    Case No. 22-cv-01237-RGA
                                                       )
         v.                                            )
                                                       )
                                                       )
Boy Scouts Of America and Delaware BSA,                )
LLC,                                                   )
                                                       )
                   Appellees.                          )
                                                       )


                     MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Joseph C. Celentino and Richard G. Mason of Wachtell, Lipton, Rosen & Katz to

represent appellee The Ad Hoc Committee of Local Councils of the Boy Scouts of America in

the above captioned matter.




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         The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
         identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
         Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Dated: October 6, 2022             /s/ R. Craig Martin
       Wilmington, Delaware        R. Craig Martin (No. 5032)
                                   DLA Piper, LLP (US)
                                   1201 North Market Street, Suite 2100
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 468-5655
                                   Email: craig.martin@us.dlapiper.com

                                   Counsel to Appellee




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                            ORDER GRANTING MOTION

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.

Date:__________________________________        __________________________________
                                                    United States District Judge




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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, and

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules and with Standing Order for District Court Fund effective 9/1/16. I further

certify that the annual fee of $25.00 has been paid ☐ to the Clerk of Court, or, if not paid

previously, the fee payment will be submitted ☑ to the Clerk’s Office upon the filing of this

motion.

Dated: October 6, 2022                       /s/ Joseph C. Celentino
                                            Joseph C. Celentino
                                            WACHTELL, LIPTON, ROSEN & KATZ
                                            51 W. 52nd Street
                                            New York, New York 10019
                                            Telephone: (212) 403-1076
                                            Email: jccelentino@wlrk.com




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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, and

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

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certify that the annual fee of $25.00 has been paid ☐ to the Clerk of Court, or, if not paid

previously, the fee payment will be submitted ☑ to the Clerk’s Office upon the filing of this

motion.

Dated: October 6, 2022                      /s/ Richard G. Mason
                                            Richard G. Mason
                                            WACHTELL, LIPTON, ROSEN & KATZ
                                            51 W. 52nd Street
                                            New York, New York 10019
                                            Telephone: (212) 403-1252
                                            Email: rgmason@wlrk.com




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